                           UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE TENNESSEE DIVISION

In re:                                                      Case No. 11-12531-CW3-13
         ABE RANDOLPH RUTHERFORD
         CHAIYA SARAH RUTHERFORD
                 Debtor(s)


                      Chapter 13 Trustee's Final Report and Account
       Henry E. Hildebrand, III, chapter 13 trustee, submits the following Final Report and
Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee
declares as follows:


         1) The case was filed on 12/21/2011.

         2) The plan was confirmed on 04/06/2012.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
04/11/2012, 05/18/2012, 07/26/2013, 08/13/2014, 11/09/2015.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was completed on 12/29/2016.

         6) Number of months from filing to last payment: 60.

         7) Number of months case was pending: 62.

         8) Total value of assets abandoned by court order: $470,000.00.

         9) Total value of assets exempted: $8,585.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

       Total paid by or on behalf of the debtor                $196,047.39
       Less amount refunded to debtor                            $5,961.47

NET RECEIPTS:                                                                                     $190,085.92


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                    $3,500.00
    Court Costs                                                                $281.00
    Trustee Expenses & Compensation                                          $4,468.61
    Other                                                                        $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                     $8,249.61

Attorney fees paid and disclosed by debtor:                        $0.00


Scheduled Creditors:
Creditor                                          Claim         Claim            Claim        Principal       Int.
Name                                Class       Scheduled      Asserted         Allowed         Paid         Paid
ABSOLUTE COLLECTION SVCS        Unsecured              85.00           NA              NA             0.00        0.00
AT&T                            Secured                  NA            NA              NA             0.00        0.00
BRANCH BANKING AND TRUST CO     Secured                  NA     97,823.45             0.00            0.00        0.00
HANGER PROSTHETICS AND ORTHO    Unsecured             313.00           NA              NA             0.00        0.00
MARINE FEDERAL CREDIT UNION     Unsecured                NA           0.00        6,564.58       6,564.58         0.00
MARINE FEDERAL CREDIT UNION     Secured           29,315.00     26,564.58        20,000.00      20,000.00    1,506.49
MARINE FEDERAL CREDIT UNION     Unsecured         15,958.00     15,957.50        15,957.50      15,957.50         0.00
NATIONWIDE INS                  Unsecured             539.00           NA              NA             0.00        0.00
NORTH CAROLINA DEPT OF REVENU   Priority           1,850.00       3,043.23        3,043.23       3,043.23         0.00
NORTH CAROLINA DEPT OF REVENU   Priority           2,500.00            NA              NA             0.00        0.00
NORTH CAROLINA DEPT OF REVENU   Unsecured                NA       1,944.79        1,944.79       1,944.79         0.00
PORTFOLIO RECOVERY ASSOCIATES   Unsecured          6,068.00       6,067.22        6,067.22       6,067.22         0.00
TOYOTA MOTOR CREDIT CORP        Secured           31,710.00     31,878.86        31,878.86      31,878.86    3,160.48
UNITED STATES TREASURY          Unsecured          2,769.00       1,836.25        1,836.25       1,836.25         0.00
UNITED STATES TREASURY          Priority           5,060.00       7,780.35        7,780.35       7,780.35         0.00
US BANK HOME MORTGAGE           Secured                  NA            NA              NA             0.00        0.00
US BANK HOME MORTGAGE           Unsecured                NA            NA              NA             0.00        0.00
WELLS FARGO                     Secured                  NA    182,103.90        76,178.61      76,178.61         0.00
WELLS FARGO                     Secured                  NA         350.00          350.00         350.00         0.00
WELLS FARGO                     Secured            5,104.30       5,567.95        5,567.95       5,567.95         0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                  $76,178.61        $76,178.61              $0.00
       Mortgage Arrearage                                 $5,917.95         $5,917.95              $0.00
       Debt Secured by Vehicle                           $51,878.86        $51,878.86          $4,666.97
       All Other Secured                                      $0.00             $0.00              $0.00
 TOTAL SECURED:                                         $133,975.42       $133,975.42          $4,666.97

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00             $0.00               $0.00
        Domestic Support Ongoing                              $0.00             $0.00               $0.00
        All Other Priority                               $10,823.58        $10,823.58               $0.00
 TOTAL PRIORITY:                                         $10,823.58        $10,823.58               $0.00

 GENERAL UNSECURED PAYMENTS:                             $32,370.34        $32,370.34               $0.00


Disbursements:

         Expenses of Administration                            $8,249.61
         Disbursements to Creditors                          $181,836.31

TOTAL DISBURSEMENTS :                                                                     $190,085.92


        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 02/07/2017                             By:/s/ Henry E. Hildebrand, III
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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